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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA


  KIMBERLY KATORA BROWN, et al.

  Plaintiffs,

     v.                                                 Civil Action No: 13-569 (CRC)

  GOVERNMENT OF THE DISTRICT OF
  COLUMBIA

  Defendant.




                                                NOTICE


                                Plaintiffs Steele and Stewart and Claim 10


          Plaintiffs’ Counsel are still taking instructions from their clients on whether to dismiss Ms.

Steele and Mr. Stewart from the case and whether plaintiffs will pursue Claim 10. Plaintiffs will file

an update as soon as they have information to report.


Respectfully submitted,


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